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 1   THOMAS A. JOHNSON, #119203
     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant, Jerad Maggi
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                    )   Case No.: 2:10-cr-00474-03 WBS
 8
                                                  )
 9                 Plaintiff,                     )   STIPULATION AND ORDER FOR
                                                  )   CONTINUANCE OF JUDGMENT AND
10                                                    SENTENCING AND MODIFICATION
            vs.                                   )   OF SCHEDULE FOR PSR
11                                                )
                                                  )
12   JERAD MAGGI,                                 )   Date:    2/4/13
13                                                )   Time:    9:30 a.m.
                   Defendant.                     )   Judge:   Hon. William B. Shubb
14                                                )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for December 10, 2012, at 9:30 a.m. is continued to
18   February 4, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested
19   because defense counsel is currently in a federal trial in this district and needs additional
20   time to prepare for the Pre-Sentence Report (PSR). Jared Dolan, Assistant United States
21   Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to this continuance.
22
23   IT IS SO STIPULATED.
24
     DATED: December 4, 2012                           By:     /s/ Thomas A. Johnson
25                                                             THOMAS A. JOHNSON
                                                               Attorney for Defendant
26                                                             MAGGI, JERAD
27
28

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     DATED: December 4, 2012                  BENJAMIN WAGNER
 1                                            United States Attorney
 2                                      By:    /s/ Thomas A. Johnson for
                                              JARED DOLAN
 3                                            Assistant United States Attorney
 4
     IT IS SO ORDERED.
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 6
     DATED: December 4, 2012
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                                 IN THE UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                   )   Case No.: 2:10-cr-00474-WBS
     UNITED STATES OF AMERICA,                       )
 9                                                   )   MODIFICATION OF SCHEDULE FOR
                    Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
10                                                   )   FILING OF OBJECTIONS TO THE PRE-
         v.                                          )   SENTENCE REPORT
11   BRANDON HANLY, et al.,                          )
                                                     )
12                  Defendants.                      )
                                                     )
13
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
14                                               this Court.
15
     Date of Referral to Probation Officer:                       June 25, 2012
16                                                                (Date of Plea or Verdict)
17   Judgment and Sentencing date:                                February 4, 2013
18
     Reply or Statement                                           January 28, 2013
19
     Motion for Correction of the Pre-Sentence
20   Report shall be filed with the court and                     January 21, 2013
21   served on the Probation Officer and opposing
     counsel no later than:
22
     The Pre-Sentence Report shall be filed with
23
     the court and disclosed to counsel no later                  January 14, 2013               __
24   than:

25   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    January 7, 2013
26
     Probation Officer and opposing counsel
27   no later than:

28   The proposed Pre-Sentence Report                             December 26, 2012

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              Case 2:10-cr-00474-WBS Document 121 Filed 12/05/12 Page 4 of 4


     shall be disclosed to counsel no later than:
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